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   B2IOA (Form 2IOA) (12/09)

                         IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK

   In re Lehman Brothers Holdings Inc.                                                      Case No. 08-13555

                   PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY

   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of
   the partial transfer, other than for security, of an undivided interest in the claim referenced in this
   evidence and notice.



                   Aleiter Holdings LLC                                   Barclays Bank PLC
                    Name of Transferee                                    Name of Transferor

   Name and Address where notices to                       Court Claim# (ifknown): 62813
   transferee should be sent:                              Amount of Claim Transferred: $302,269.53
                                                           ISIN/CUSIP: XS0238337439
                                                           Date Claim Filed: October 23, 2009
                                                           Debtor: Lehman Brothers Holdings Inc.
   Aleiter Holdings LLC
   c/o Chapman and Cutler LLP
   1270 Avenue ofthe Americas
   30th Floor
   New York, NY 10020-1708
   Tel: 212.655.2517
   Email: halperin@chapman.com

   I declare under penalty of perjury that the information provided in this notice is true and correct
   to the best of my knowledge and belief.


   ALEITER HOLDINGS LLC
   By: Chapman and Cutler LLP, as authorized
   signatory and not in the capacity as legal counsel to
   Aleiter Holdings LLC

                                                              Date:      l -    I   ""> -    I )~

   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years
   or both. 18 U.S.C. §§ 152 & 3571.




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    TO:            THE DEBTOR AND TilE BANKRUPTCY COURT

               l.           For value received, tho adequacy and sufficiency of which are hereby acknowledged, Bm-clays
    Bank PLC (."!2.~.1.1~(') h~ereby unconditionally and irrevocably sells, transfers and assigns to Alciter Holdings LLC
    (the ''l~_urdi<lli.~r"), and Purchaser hereby agrees to purchase, as of the date hereof~ (a) an undivided interest to the
    extent or the nominal amount specilkd in Sc!ws;Jul.t,Ll. attached hereto (the ''PurcllllS:ed Claim"), in Seller's right,
    title and interest in and to Proof of Claim Number 62813 filed by or on behalf of Seller ot· Seller's predecessor in
    interest (the "J'nw.Lcl. Clalr.n.") against Lehman Brothers Holdings, Inc., debtor in proceedings fhr reorganization
    (the "J>mcceding~") in the United States Bankruptcy Court for the Southern District of New York. (the "~Q!Jrt"),
    administered under Case No. 08-!3555 (JMP) (the "Debtq.r"), (b) all rights and benefits of Sc!ler relating to the
    Purchased Claim, including without limitation (i) any right to receive cash, securities, instruments, interest,
    damageg, penalties, fees or other property, which may be paid or distributed with respect to the Purchased Claim or
    with respect to any of the documents, agreements, bills and/or other documents (whether now existing or hcreafier
    arising) which evidence, create and/or give rise to or alTcct in any material way the Purchased Claim, whether under
    a plan of reorganization or liquidation, pursuant to a liquidation, or otherwise, (ii) any actions, claims (including,
    without limitation, "claims" as defined in Section 101(5) of Title 11 of the United States Codc (the~ 'Tl.ankruptcy
    Codg'')), rights or lawsuits of any nature whatsoever, whether against the Debtor or any other party, l1rising out or or
    in connection with the Purchased Claim, (iii) any rights and benefits arising out of or in connection with any exhibit,
    attachment and/or supporting documentation relating to the Purchased Claim, anJ (iv) any and all of Seller's right,
    title and int<:rest in, to and under the transh~r agreements, if any, und;;r which Seller or any predecessor in interest
    acquired the rights underlying or constituting a part of the Purchased Claim, but only lu !he extent related to rhc
    Purchased Claim, (c) the) security or securities (any such security, a "J'Jm;JJ<J?e~ S.ecu!:itY") relating to the Purchased
    Claim and specified in ,;;chcdule l attached hereto, and (d) any and all proceeds of any of the foregoing (collectively,
    as described in clauses (a), (b), and (c), the "Trans(crred Cl{tims"). For the avoidance of doubt, Purchaser does not
    assume and shall not be r0sponsible for any obligations or liabilities of the Seller rclat,~d to or in connection with th~
    Transferred Claims or the Proceedings.

              2.        Seller hereby represents and warrants to Purchaser that: (a) the Proof of Claim was duly and
    timely filed on or before 5:00p.m. (prevailing Eastern Time) on November 2, 2009 in accordance with the Court's
    order setting the deadline for tiling proofs of <:I aim in respect of"Lehman Program Securities"; (b) the Proof or
    Claim relates to one or mor<; sccllritics expressly identified on the list designated "Lehman Programs Securities"
    available on http://www.lchman-dockct.com as of July 17, 2009; (c) Seiter owns and has good and marketable title
    to the Transferred Claims, free and clear of any and all liens, claims, set-off rights, security interests, participations,
    or encumbrances created or incurred by Seller or against Seller; (d) Seller is duly authorized and empowered to
    execute and perform its obligations under this Agreement and Evidence of Transfer of Claim; (e) the Proof of Claim
    includes the Purchased Claim specified in Sch<;siuhl attached hereto; (t) Seller has not engaged in any acts, conduct
    or omissions, or had any relationship with the Debtor or its affiliates, that, with respect to the Transferred Claim,
    will give rise to any setoff, defense or counterclaim, or wiH result in Purchaser receiving in respect of the
    Transferred Claims proportionately less payments or distributions or less nworable treatment than other general
    unsecured creditors of the same class and type as the Purchased Claim; (g) to the extent, and in the form received
    frorn Seller's predecessor in interest prior to the date hcreot: a true and correct copy of the Notice of Proposed
    Allowed Claim Amount fbr the Proof of Claim (the "Notice'") dated November 8, 20 ll which replaces tlw August
    24, 20! [ Notice and has been provided to Purchaser, and there have been no suppkments, amendments or- revisions
    thereto, and no action was undertaken by Seller with respect to the Notice; (h) to the extent, and in the form received
    lfom Seller's predecessor in interest, Seller has delivered to Purchaser a true and correct copy oftbe disbursement
    notices from the Debtor (which have not been supplemented, amended or revised by Seller) in connection with the
    LBHI Distributions (a;; defined below) (i) (a) Seller's predecessor in interest has received a distribution !rom the
    Debtor relating lo the Transfl)tTed Claims or on or about April 17, 2012 in the amount or S 10,90').59 (the '"Initial
    LB!ll Distribution"), (b) Scll<~r's predecessor in interest has n:ccivcd a distribution !l·om the Debtor relating to the
    Transferred Claims on or about October I, 2012 in the amount of$7,362.0 l (the "Second U3Hl Disiribullon"), (.;:)
    Seller's predecessor in interest has received a distribution from the f.kbtor relating to the Transf'errC'd Claims on or
    about April4, 201:1 in the mnount of$9,298.76 (the '"Third LBHI Distribution''), (d) Seller's rm·zkcessor in interest
    has received a distribution from the Debtor relating to the Transferred Claims on or about October 3, 2013 in tile


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    amount orS i l ,024.72 (the "Fourth LBH! Distribution"), (c)Scllcr has receivcu a distribution from the Debtor
    relating to the Transferred Claims on or about April 3, 2013 in the amount of $11,975.42 (the "Firth LBl !J
    Distribution"), and (f) Seller has received a distribution from the Debtor relating to the Tmnsferred Clnims on m
    about October 2, 20 l4in the amount of$8,987.54 (the "Sixth LBHl Distribution" and, together \Vith the Initial LBHl
    Distribution, the Second LBlll Distribution, the Third LBH r Distribution, the Fourth LBII! Distribution and the
    Fifth LBHI Distribution, the "LBHI Distributions")) on account or the Transferred Claims. provided however that
    such disbursement notices have been redacted of information unrelated to the Transferred Claims; (j) Seller has
    received a distribution, fi·om the Debtor or a predecessor in interest, paid on or around May 8, 2013 in the amount of
    ('i24,709.59 (the "First Ll3T Distribution"), a distribution, from the Debtor or a predecessm in interc~st, paid on or
    around October 28, 20 l3 in the amount of€9,677.48 (the "Second LBT Distribution"), a distribution, from the
    Debtor or a predecessor in interest, paid on or around April 28, 2014 in the amount of EI 0,40 Ll7 (the "Third LBT
    Distribution") and a distribution paid on or about October 28, 2014 in the amount off8,599.46 (the "Fourth Llfl'
    Distribution") by Lehman Brothers Treasury Co. B. V. with respect to the securities relating to the Purchased Claim
    (the Ll3H! Distributions, the First LBT Distribution, the Second LBT Distribution, the Third LflT Distribution, the
    Fourth LBT Distribution, collectively the "Distributions") and (k) other than the Distributions, Seiler has not
    received any payment or distribution, whether directly or indirectly, on account of the Transferred Claims.

              3.       Seller hereby waives any objection to the transfer of the Transferred Claims to Pun:haser on the
    books and records of the Debtor and the Court, and hereby waives to the fullest ex.tent permitted by law any notice
    or right to receive notice of a hearing pursuant to Rule 300 l (e) of the Federal Rules of Bankrupt<;·.y Proc(•dure, the
    Bankruptcy Code, applicable local bankruptcy rules or applicable law, and consents to the substitution of Seller by
    Purchaser for all purposes in the case, including, without limitation, for voting und distribution purposes with respect
    to the Transferred Claims. Purchaser agrees to file a notice of transfer with the Court pursuant io Federal Rule of
    Bankruptcy Procedure 300 l(e) including this Agreement and Evidence of Transfer of Claim. Seller acknowledges
    and understands, and hereby stipulates, that an order of the Court may be entered without fut1her notice to Seller
    transferring to Purchaser the Transferred Claims, recognizing Purchast:r as the sole owner and holder of the
    Transferred Claims, and din::cting that all payments or distributions of money or property in respect of the
    Transferred Claim be delivered or made to Purchaser.

              4.      All representations, warranties, covenants and indemnities shall survive the execution, delivery
    and performance of this Agreement and Evidence of Transfer of Claim and the transactions described herein.
    Purchaser shall be entitled to transfer i!s rights hereunder without any notkc to or the consent of' Seller. Seller
    hereby agrees to indemnify, detend and hold Purchaser, its succe~sors and as5igns and its oHiccrs, dircdors,
    employees, agents and controlling persons harmless from and against any and aU losse:;, claims, damages, costs,
    expenses und liabilities, including, without limitation, reasonable attorneys' fees and expenses, \Vhich result from
    Seller's breach or its representations and warranties made herein.

              5.       Following the date of this Agreement, Seller shall promptly (but in any event no later than three
    (3) business days) remit nny payments, distributions or proceeds received by Sclk~r in respect of the Transf'errcd
    Claims to Purchaser (including, for the avoidance of doubt, any distributions Seller received after the trade date of
    August 21, 2013, including without limitation, the Fourth Distribution, the Fifth Distribution, the Sixth Distribution,
    the Second LBT Distribution, the Third LBT Distribution and the Fourth I.BT Distribution). Seller has transferred,
    or shall transfer as soon as practicable after the date hereof, to Purchaser each Purchased Security to such account,
    via Euroclcar or Clearstrcarn (or similar transfer method), as Purchaser may designate in writing to Sellr;r. This
    Agreement and Evidence of Transfer of Claim supplements and does not supersede any confirmation, any other
    automatically generated documentation or any applicable rules of Euroclear or Clcarstream (or similar transfer
    method) with respc~et to the purchase and sate of the Purchased Security.

             6.        Each of Seller and Purchaser agrees to (a) execute and deliver, or cause to be cxt::cuted nnd
    delivered, all such other and fiJrther agreements, documents and instruments and (b) take or cause to be taken all
    such other and li.Jrtl!er actions <IS the oth~;r rmrty may reasonably request to cffcctuutc the intent and purposes, and
    carry out the terms, or this Agreement and Evidence of Transfer of Claim, including, without limitation, cooperating
    to ensure the timely and uccurate filing of any amendment to the Proof of Clairn.

            7.       Sdk;r's and Purchaser's rights and obligations hereund(•r shaH be governed by and interpreted and
    determined in acc:ordunce with the Jaws of the State ofNc\v York (without regard to any conflicts of law provision


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   that would requir10 the application of the law of any other jurisdiction). Seller and Purchaser each submit to the
   jmisdiction ofthc cGurts located in the County ofNe\v York in the State ofNev1 York. Each party hereto consents
   to service ofpro<.:ess by certified mail at its address listed on the signature page below.

   IN WlTNESf WHEREOF, this AGREEMENT AND EVIDENCE OF TRANSFER OF CLAIM is executed this
   day of __l?::J~}~20 14.

   Barclays Daryk PLC
        >'..       /
                                                             Alcitcr Holdings LLC
               /                                             By: Chapman and Cutler J ,LP, as authorized
                                                             signatory and not in the capacity as legal counsel to
                                                             Aleiter lloldings LLC



   745 Seventh Ave
   Nt~w York, NY 10019




                                                             Address:
                                                             A leiter Holdings LLC
                                                             c/o Chapman and Cutler LLP
                                                              !270 A venue of the Americas
                                                             30th floor
                                                             New York, NY 10020-1708
                                                             Tel: 212.655.25!7
                                                             Email: halperin@chupman.corn
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       In connection with tl10 S0curity/lSIN referenced below, $302,269.53 ofthe allowed amount ofthe Proof of Claim.


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     Securit --~·-·,--~=M"..J
   1
                                                                                                               Amount                                Transferred Hereunder
     Issue of EUR                   XS0238337439          Lehman            Lehman                             EUR 213,000         $302,269.53
     7,500,000 Equity                                     Brothers          Brothers
     Linked Notes due                                     Treasury          Holdings Inc.
     January 20 ll                                        Co. B.V.
     relating to a Basket of
   : Shares
   1
     Guaranteed by
     Lehman Brothers
     Holdings Inc.
     under the
     U.S.$45,000,000,000
     Euro Medium-Term             .
     Note Prooram                i
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                                                                                                             Schedule 1-·1
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